  Case 14-07168         Doc 45     Filed 12/20/16 Entered 12/20/16 16:31:24              Desc Main
                                      Document Page 1 of 3


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-07168
         Rachael A Hudgins

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 02/28/2014.

         2) The plan was confirmed on 05/07/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/16/2015, 04/07/2016, 11/17/2016.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 11/16/2016.

         6) Number of months from filing to last payment: 26.

         7) Number of months case was pending: 34.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
 Case 14-07168       Doc 45        Filed 12/20/16 Entered 12/20/16 16:31:24                     Desc Main
                                      Document Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor                $7,225.00
       Less amount refunded to debtor                              $0.00

NET RECEIPTS:                                                                                     $7,225.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $4,000.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $308.15
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $4,308.15

Attorney fees paid and disclosed by debtor:                     $0.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim       Principal      Int.
Name                                Class    Scheduled      Asserted         Allowed        Paid         Paid
Aspen Mastercard                 Unsecured         950.00           NA              NA            0.00       0.00
BISK ED INC Private PAY PR       Unsecured          79.00           NA              NA            0.00       0.00
City Colleges of Chicago         Unsecured         429.00           NA              NA            0.00       0.00
CITY OF CHICAGO DEPT OF REVENU   Unsecured      3,615.00       3,614.16        3,614.16      1,098.49        0.00
CITY OF CHICAGO DEPT OF REVENU   Unsecured         520.00           NA              NA            0.00       0.00
JEFFERSON CAPITAL SYSTEMS LLC    Unsecured            NA         404.15          404.15        122.85        0.00
LVNV FUNDING                     Unsecured            NA         414.61          414.61        126.02        0.00
M3 Financial Services            Unsecured          16.00           NA              NA            0.00       0.00
Medical Business Bureau          Unsecured         272.00           NA              NA            0.00       0.00
PEOPLES GAS LIGHT & COKE CO      Unsecured      1,884.00       2,090.74        2,090.74        635.48        0.00
PREMIER BANKCARD/CHARTER         Unsecured         380.00        380.09          380.09        115.52        0.00
PYOD LLC                         Unsecured            NA         705.64          705.64        214.47        0.00
Target                           Unsecured         500.00           NA              NA            0.00       0.00
TCF BANK                         Unsecured      1,000.00            NA              NA            0.00       0.00
Telecheck Services, Inc.         Unsecured         700.00           NA              NA            0.00       0.00
United Collection Bureau, Inc.   Unsecured         342.00           NA              NA            0.00       0.00
WEST SUBURBAN MEDICAL CENTER     Unsecured      1,987.00       1,987.35        1,987.35        604.02        0.00




UST Form 101-13-FR-S (09/01/2009)
  Case 14-07168         Doc 45      Filed 12/20/16 Entered 12/20/16 16:31:24                Desc Main
                                       Document Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                              $9,596.74          $2,916.85              $0.00


Disbursements:

         Expenses of Administration                             $4,308.15
         Disbursements to Creditors                             $2,916.85

TOTAL DISBURSEMENTS :                                                                        $7,225.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/20/2016                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
